                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                              No: 23-3655

                          Turtle Mountain Band of Chippewa Indians, et al.

                                                         Appellees

                                                    v.

             Michael Howe, in his official capacity as Secretary of State of North Dakota

                                                         Appellant

                              North Dakota Legislative Assembly, et al.

                                       ------------------------------

                                        State of Alabama, et al.

                                          Amici on Behalf of Appellant(s)

                            National Congress of American Indians, et al.

                                          Amici on Behalf of Appellee(s)


______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Eastern
                                  (3:22-cv-00022-PDW)
______________________________________________________________________________

                                                ORDER

          The petition for rehearing en banc is denied. The petition for panel rehearing is also

denied.

          Chief Judge Colloton, Judge Smith, and Judge Kelly would grant the petition for

rehearing en banc.

          Judge Erickson did not participate in the consideration or decision of this matter.

                                                          July 03, 2025




   Appellate Case: 23-3655            Page: 1       Date Filed: 07/03/2025 Entry ID: 5533794
Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




   Appellate Case: 23-3655        Page: 2       Date Filed: 07/03/2025 Entry ID: 5533794
